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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

RODNEY REED,                                 §
                      Plaintiff,             §
                                             §
v.                                           §
                                             §
BRYAN GOERTZ, Criminal District              §
Attorney, Bastrop County, Texas              §
                                             §         ACTION NO. 1:19-CV-794-LY
STEVE MCCRAW, Director, Texas                §              CAPITAL CASE
Department of Public Safety                  §
                                             §
SARAH LOUCKS, District Clerk, Bastrop
                                             §
County, Texas
                                             §
MAURICE COOK, Sheriff, Bastrop               §
County, Texas                                §
                 Defendants.                 §


               DEFENDANTS GOERTZ, LOUCKS, AND COOK’S
           MOTION TO DISMISS FOR WANT OF JURISDICTION AND
     FAILURE TO STATE A CLAIM UPON WHICH RELIEF CAN BE GRANTED


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                                        INTRODUCTION

       This is civil-rights action filed pursuant to 42 U.S.C. § 1983. Plaintiff is a Texas death row

inmate scheduled to be executed November 20, 2019, and he purports to challenge Texas’s

postconviction DNA testing scheme—Chapter 64 of the Texas Code of Criminal Procedure. See

generally Compl., ECF No. 1. Defendants are various state and county officials who Plaintiff

claims have possession of evidence he wants tested for DNA. The County Defendants—Bryan

Goertz, Sarah Loucks, and Maurice Cook—respectfully move to dismiss Plaintiff’s complaint as

jurisdictionally deficient and failing to state a claim for relief which may be granted.

                                 STATEMENT OF THE CASE

       Plaintiff was convicted of capital murder for the abduction, rape, and strangulation of

Stacey Stites and sentenced to death. Reed v. State, 541 S.W.3d 759, 763 (Tex. Crim. App. 2017).

“This case has an extensive post-conviction litigation history.” Id. Direct appeal was unsuccessful

for Plaintiff. Id. So were the six state habeas applications that followed. Id. at 763–64. Federal

review of his conviction, including by this Court, did not afford him relief either. Id. at 764.

       In April 2014, the State moved to set Plaintiff’s execution. At a July 2014 hearing on the

matter, and at which the trial court set an execution date, Plaintiff moved for DNA testing “of a

large number of items,” though he did “not clearly or consistently identif[y the] items he s[ought]

to test.” Id. A hearing on the Chapter 64 motion commenced at which both Plaintiff and the State

called witnesses. Id. at 765–67. “After holding [the] live evidentiary hearing, the trial judge denied

[Plaintiff’s] DNA testing request and issued findings of fact and conclusions of law.” Id. at 767.

After a remand, “the judge made supplemental findings of fact and conclusions of law.” Id.

       On appeal, the CCA found that the exhibits admitted at Plaintiff’s capital murder trial and

housed by the Bastrop District Clerk’s Office were not subject to a sufficient chain of custody as

required by Chapter 64. Id. at 769–70. This was based on testimony and evidence that the exhibits


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“were handled by ungloved attorneys, court personnel, and possibly the jurors,” and that they were

“not separately packaged, but instead commingled in a common repository.” Id. at 770. Further,

Plaintiff’s witnesses admitted “there is ‘a good chance that [the items in the clerk’s boxes are]

contaminated evidence’” and “that handling evidence without gloves would tamper with the

evidence.” Id. (alteration in original). Accordingly, the CCA held that the evidence “demonstrates

that the manner in which the [trial] evidence was handled and stored casts doubt on the evidence’s

integrity, especially for the [touch DNA] testing” Plaintiff sought. Id.

       The CCA then concluded that other evidence likely contained biological material suitable

for DNA testing, reversing the trial court on this point. Id. at 770–73. However, the court concluded

that, assuming that the non-contaminated evidence produced exculpatory DNA test results,

Plaintiff did not prove by a preponderance of the evidence that he would not have been convicted,

also a requirement under Chapter 64. Id. at 773–77. This is because Plaintiff failed to show that

some of the items were “connected to Stites’s capital murder,” id. at 774, or were “relevant to

establishing Stites’s murderer,” id. at 775. Further, presumed exculpatory results “do not affect the

State’s time line supporting its theory tying the murder to the rape” or “support [Plaintiff’s]

consensual-relationship defense.” Id. at 776. And even assuming that the DNA results would

match Jimmy Fennell, Stites’s then-fiancé, “the jury would most likely not be surprised to learn

that [his] profile was found on his own truck or on items found in his truck.” Id.

       Moreover, any presumptive exculpatory results, including evidence of a redundant
       DNA profile, are relatively weak evidence because of the specific biological
       material [Plaintiff] seeks to test. [Plaintiff’s] experts definit[iv]ely opined that all
       of the items [he] identified have biological material because epithelial cells are
       ubiquitous on handled materials. According to the hearing testimony, testing
       technology has advanced to the degree that a small number of skin cells may yield
       a DNA profile. But as [Plaintiff’s] DNA experts explained the exchange principle,
       there is an uncertain connection between the DNA profile identified from the
       epithelial cells and the person who deposited them. Just as a person may deposit his
       own epithelial cells, he may deposit another’s if those cells were exchanged to him



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       by touching an item another has touched. So the exchange principle may support
       an equally persuasive argument that the DNA profile discovered from an epithelial
       cell was not deposited by the same person associated with the particular DNA
       profile. And as with all DNA testing generally, touch DNA analysis cannot
       determine when an epithelial cell was deposited. So in addition to being unable to
       definitively show who left the epithelial cell, it is unable to show when it was
       deposited.

Id. (footnote omitted). Accordingly, the CCA found that Plaintiff’s “experts contradict[ed] his

argument that touch DNA would prove the perpetrator’s identity.” Id.

       Finally, the CCA affirmed the finding that Plaintiff failed to prove that his DNA testing

request was not made to unreasonably delay the execution of his sentence or the administration of

justice, another requirement under Chapter 64. Id. at 777–80. Plaintiff’s “untimely request to test

a significant number of items, including some items the State ha[d] agreed to test and others whose

relevance to the crime are unknown, supports the conclusion that th[e] motion was intended to

delay his impending execution date.” Id. at 778. Plaintiff also “initiated the negotiations [for DNA

testing with the State] only after the [Fifth] Circuit Court of Appeals denied his request for a

certificate of appealability approximately three days before.” Id. at 779. And “Chapter 64 had

existed with only slight variations for over thirteen years at the time [Plaintiff] filed his motion,

and there d[id] not appear to be any factual or legal impediments that prevented [him] from availing

himself of post-conviction DNA testing earlier.” Id. For these three reasons, the denial of DNA

testing was affirmed. Id. at 780.

       After the conclusion of federal habeas review, Plaintiff filed three more state habeas

applications. The first of these three caused Plaintiff’s initial execution date to be stayed. Ex parte

Reed, No. WR-50,961-07, 2015 WL 831673, at *1 (Tex. Crim. App. Feb. 23, 2015). Those

applications, however, have now been denied or dismissed. Ex parte Reed, Nos. WR-50,961-08 to

-09, 2019 WL 2607452, at *1–3 (Tex. Crim. App. June 26, 2019); Ex parte Reed, Nos. WR-

50,961-07 to -08, 2017 WL 2131826, at *1–2 (Tex. Crim. App. May 17, 2017). With no pending


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state court litigation, the trial court thus entered an execution date for November 20, 2019.

Execution Order 1–2, State v. Reed, No. 8701 (21st Dist. Ct., Bastrop County, Tex. July 24, 2019).

                                SUMMARY OF THE ARGUMENT

        Plaintiff fundamentally requests mandamus relief—to force state and county actors to

release evidence in their possession in order to perform DNA testing—but the Court has no

jurisdiction to so order. The Court also lacks jurisdiction because Plaintiff is simply attacking a

state court’s opinion rather than the State’s postconviction DNA testing statutory scheme. And,

finally, jurisdiction is lacking as to certain pieces of evidence because they are held by a state court

which has prior exclusive jurisdiction.

        As to the claims themselves, they are untimely under the statute of limitations applicable

to § 1983 claims—Texas’s two-year personal injury limitations period. Plaintiff also fails to state

a claim for relief which may be granted—even accepting his allegations as true, the denial of DNA

testing did not violate fundamental fairness, it did not bar him access to the courts, it does not

constitute cruel and unusual punishment, and it does not deny him the opportunity to prove his

innocence. As such, Plaintiff’s claims must be dismissed.

                                            ARGUMENT

I.      The Standards of Review

        A.      Rule 12(b)(1)

        “Federal courts are courts of limited jurisdiction, and absent jurisdiction conferred by

statute, lack the power to adjudicate claims.” Stockman v. Fed. Election Comm’n, 138 F.3d 144,

151 (5th Cir. 1998). “Motions filed under Rule 12(b)(1) of the Federal Rules of Civil Procedure

allow a party to challenge the subject matter jurisdiction of a district court to hear a case.” Ramming

v. United States, 281 F.3d 158, 161 (5th Cir. 2001). “It is incumbent on all federal courts to dismiss

an action whenever it appears that subject matter jurisdiction is lacking.” Stockman, 138 F.3d at


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151. “Lack of subject matter jurisdiction may be found in any one of three instances: (1) the

complaint alone; (2) the complaint supplemented by undisputed facts evidence in the record; or

(3) the complaint supplemented by undisputed facts plus the court’s resolution of disputed facts.”

Ramming, 281 F.3d at 161. “[T]he plaintiff constantly bears the burden of proof that jurisdiction

does in fact exist.” Id.

        B.      Rule 12(b)(6)

        To survive a Rule 12(b)(6) motion to dismiss, a “complaint must contain sufficient factual

matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal,

556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)).

Although the complaint need not contain “‘detailed factual allegations,’” it must provide more

than “‘naked assertion[s]’ devoid of ‘further factual enhancement.’” Id. (alteration in original)

(quoting Twombly, 550 U.S. at 557). “Factual allegations must be enough to raise a right to relief

above the speculative level.” Twombly, 550 U.S. at 555. “Threadbare recitals of the elements of a

cause of action, supported by mere conclusory statements, will not suffice.” Iqbal, 556 U.S. at 678.

“Where a complaint pleads facts that are ‘merely consistent with’ a defendant’s liability, it ‘stops

short of the line between possibility and plausibility of ‘entitlement to relief.’” Id. (quoting

Twombly, 550 U.S. at 557).

II.     The Court Lacks Jurisdiction.

        A.      Plaintiff’s request for evidence release is, in fact, a mandamus request beyond
                the Court’s jurisdiction.

        Plaintiff’s complaint is nearly identical, verbatim almost, with one filed nearly three years

ago in in this Court. Complaint Filed Pursuant to 42 U.S.C. § 1983, Swearingen v. Keller, No. A-

16-CV-01181-YL (W.D. Tex. Oct. 10, 2016), ECF No. 1. While certain differences exist between

the two, including the omission of the judges of the Court of Criminal Appeals (CCA) as parties



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in the present case, the relief requested is fundamentally the same—“access and test[ing of]

evidence” and “produc[tion] and release for DNA testing [of] evidence.” Compl. 31; compare id.,

with Order Dismissing Complaint 7, Swearingen v. Keller, No. A-16-CV-01181-YL (W.D. Tex.

July 7, 2017) (Yeakel, J.), ECF No. 18. Faced with this situation, the Court held:

                Although the writ of mandamus was abolished by Rule 81(b) of the Federal
        Rules of Civil Procedure, federal courts may issue all writs necessary or appropriate
        in aid of their respective jurisdiction and agreeable to the usages and principles of
        law. But a federal court lacks the general power to issue writs of mandamus to direct
        state courts and their judicial officers in the performance of their duties where
        mandamus is the only relief sought. Swearingen’s complaint is the equivalent of a
        petition for mandamus relief because it requests this court to direct the state court
        to require the DNA testing he requested and to direct the custodians of that evidence
        to release it for testing. As such, his request lacks any arguable basis in the law and
        should be dismissed with prejudice as frivolous.

Order Dismissing Complaint 7–8 (citations omitted); see Ramirez v. McCraw, 715 F. App’x 347,

350 (5th Cir. 2017); Pruett v. Choate, No. H-17-CV-2418, 2017 WL 4277206, at *5 (S.D. Tex.

Sept. 25, 2017). Similar case, similar result—the Court must dismiss it for want of jurisdiction.

        B.      If the Court cannot order the relief Plaintiff seeks, then he lacks standing.

        In order to demonstrate standing, a party must prove an (1) injury in fact, (2) a causal

connection between the injury and the defendant, and (3) that the injury will be redressed by a

favorable decision. See Lujan v. Defenders of Wildlife, 504 U.S. 555, 560–61 (1992). As explained

above, the Court does not possess jurisdiction to provide Plaintiff what he wants—access or release

of evidence and DNA testing of it. See supra Argument II(A). Hence, the Court is without

jurisdiction to redress Plaintiff’s claimed injury, so he lacks standing to bring his suit. Accordingly,

it must be dismissed.

        C.      The Rooker–Feldman doctrine strips the Court of jurisdiction.

        “The Rooker–Feldman doctrine . . . [prohibits] cases brought by state-court losers

complaining of injuries caused by state-court judgments rendered before the district court



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proceedings commenced and inviting district court review and rejections of those arguments.”

Exxon Mobil Corp. v. Saudi Basic Indus. Corp., 544 U.S. 280, 284 (2005). “[U]nder . . . the

Rooker–Feldman doctrine, lower federal courts are precluded from exercising appellate

jurisdiction over final state-court judgments.” Lance v. Dennis, 546 U.S. 459, 463 (2006).

        At bottom, Plaintiff challenges the CCA’s application of Chapter 64 to him. See, e.g.,

Compl. 29 ¶ 88 (“The CCA has interpreted [Chapter] 64 to bar DNA testing even where, as in

[Plaintiff’s] case, realistically possible exculpatory DNA results from such testing have the

capacity to prove innocence based solely on the State’s handling of evidence.”). This is unlike the

plaintiff in Skinner v. Switzer, who clarified that he was not challenging “the prosecutor’s conduct

or the decisions reached by the CCA in applying Chapter 64 to his motions.” Skinner v. Switzer,

562 U.S. 521, 530 (2011). Because Plaintiff “challenge[s] the adverse CCA decision[],” id. at 532,

his claims are barred by the Rooker–Feldman doctrine and the Court must dismiss them as lacking

jurisdiction. See Alvarez v. Attorney Gen. for Fla., 679 F.3d 1257, 1262–64 (11th Cir. 2012)

(barring under the Rooker–Feldman doctrine a “procedural due process challenge [that] boil[ed]

down to a claim that the state court judgment itself caused him constitutional injury by arbitrarily

denying him access to the physical evidence he seeks”).

        D.      Because a state court possesses prior jurisdiction over multiple pieces of
                evidence Plaintiff seeks to test, its jurisdiction is exclusive.

        While the keeper of trial court records in Texas is normally referred to as a “district clerk,”

the official title for this position is “Clerk of District Court.” Tex. Const. art. V, § 9 (emphasis

added). It is part of the judicial branch of Texas government. Tex. Const. art. V. District clerks

have “custody of and shall carefully maintain and arrange the records relating to or lawfully

deposited in the clerk’s office.” Tex. Gov’t Code § 51.303(a). And they are required to “record the

acts and proceedings of the court.” Id. at § 51.303(b)(1). In criminal cases, this requires the district



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clerks to “receive all exhibits at the conclusion of the proceeding.” Tex. Code Crim. Proc. art.

§ 2.21. Plaintiff sets out the evidence he wants subjected to DNA testing. Compl. Ex. A. A good

portion of that evidence is held by the Bastrop District Clerk because it was admitted at Plaintiff’s

capital murder trial. See Reed, 541 S.W.3d at 769–70. This evidence 1 can be released only upon

“authoriz[ation] by the court in which such exhibits have been received.” Tex. Att’y Gen. Op. No.

MW-71 (1979).

        Because Plaintiff is seeking release and transfer of property, he is attempting to invoke this

Court’s in rem jurisdiction. However, “[a] court’s otherwise valid power to take jurisdiction of an

in rem action is qualified by the rule that when a court of competent jurisdiction has obtained,

possession, custody, or control of the disputed res in an in rem action, that possession cannot be

disturbed by any other court.” Key v. Wise, 629 F.2d 1049, 1059 (5th Cir. 1980). “[T]he rule has

been declared to be of especial importance in its application to Federal and state courts.” Id.

(quoting Farmers Loan & Trust Co. v. Lake St. Elevated R.R. Co., 177 U.S. 51, 61 (1900)).

        The state district court presiding over Plaintiff’s criminal matter admitted into evidence the

exhibits now stored by the Bastrop District Clerk. Because the items listed in footnote three are in

the possession of a state court with competent jurisdiction, via constructive trust by the Bastrop

District Clerk, that court has exclusive jurisdiction over them. And as such, this Court lacks

jurisdiction to remove them from that court and it must dismiss any claims seeking such remedy.

        E.      Eleventh Amendment provides immunity to the extent that Plaintiff seeks
                anything beyond declaratory and injunctive relief.

        Plaintiff makes clear that he is suing the County Defendants in their official capacities for

only declaratory (postconviction DNA testing) or injunctive relief (as custodians). Compl. 4 ¶ 7–


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        Those items are: “Section of belt (no buckle)”; “Section of belt (with buckle)”; “H.E.B. name tag”;
“H.E.B. employee shirt”; “White t-shirt”; “Right shoe”; “Left shoe”; “Socks”; “Pants”; “Bra”; and “Knee
brace.” Compl. Ex. A.


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10. To the extent that Plaintiff goes beyond these requests for prospective relief, the County

Defendants have Eleventh Amendment immunity. See, e.g., Quinn v. Roach, 326 F. App’x 280,

292 (5th Cir. 2009). To the extent that Plaintiff seeks relief beyond what he has assigned to each

defendant, declaratory (Goertz) versus injunctive (Loucks and Cook), the Ex parte Young

exception does not apply, and they are still exempt from suit. See Air Evac EMS, Inc. v. Tex. Dep’t

of Ins., 851 F.3d 507, 516–19 (5th Cir. 2017). Stated another way, Goertz has no hand in being the

custodian of evidence, and Loucks and Cook have no connection to Chapter 64. And to the extent

that Plaintiff challenges the CCA’s application of Chapter 64 to him, see supra Argument II(C),

or raises anything beyond a procedural due process claim, the County Defendants bear insufficient

connection to that act or acts and are entitled to immunity.

III.   Alternatively, Plaintiff Does Not State a Claim upon Which Relief May Be Granted.

       A.      Plaintiff’s claims are barred by the applicable statute of limitations.

       Claims brought via § 1983 are best characterized as personal injury actions and are

therefore subject to a state’s personal injury statute of limitations. See Wilson v. Garcia, 471 U.S.

261, 279 (1985); Walker v. Epps, 550 F.3d 407, 412–14 (5th Cir. 2008). That imitations period is

two years in Texas. Tex. Civ. Prac. & Rem. Code § 16.003(a). Claims complaining of the denial

of DNA testing accrue on the date when such request was first denied by a state court. See Savory

v. Lyons, 469 F.3d 667, 673 (7th Cir. 2006).

       The trial court first denied Plaintiff’s DNA testing motion at the conclusion of a live

hearing on November 25, 2014, as Plaintiff admits. Compl. 13 ¶ 34, 38. The trial court

memorialized the reasoning behind its denial on December 12, 2014, and those findings were filed

on December 16, 2014, as Plaintiff again admits. Compl. 13 ¶ 38; see also Compl. Ex. B. Even

under the most favorable trial court accrual date, Plaintiff is more than two years too late.

Alternatively, if the CCA’s affirmance of the denial of DNA testing is the appropriate accrual date,


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that occurred on April 12, 2017. Reed, 541 S.W.3d at 760. Thus, Plaintiff’s claims are still untimely

by several months. Regardless of the accrual date used, Plaintiff’s claims are barred by limitations.

       B.      Goertz has absolute immunity from suit.

       Again, although Plaintiff asserts that he is suing Goertz in his official capacity and for only

declaratory relief (postconviction DNA testing scheme), Compl. 4 ¶ 7–10, to the extent that he

challenges Goertz’s actions as the Criminal District Attorney for Bastrop County, Goertz is entitled

to absolute prosecutorial immunity. See Esteves v. Brock, 106 F.3d 674, 677 (5th Cir. 1997). And

to that extent, the claim fails as a matter of law and must be dismissed.

       C.      Plaintiff’s procedural due process Claim fails as a matter of law and must be
               dismissed as it does not state a claim upon which relief may be granted (Claim
               One).

       Plaintiff claims that Chapter 64 violates due process because the CCA: (1) incorrectly

interpreted Chapter 64’s chain-of-custody requirement; (2) improperly limited the definition of

“exculpatory” in Chapter 64; (3) did not “clarify, acknowledge, or even differentiate between” two

sets of supplemental findings entered by the trial court on remand; and (4) did not consider

evidence outside the trial record. Compl. 24–27.

       Convicted individuals have no constitutional right to postconviction DNA testing, but if a

state provides such a right, the procedures must satisfy due process. See Dist. Attorney’s Office for

the Third Judicial Dist. v. Osborne, 557 U.S. 52, 69, 72–74 (2009). However, a “criminal

defendant proved guilty after a fair trial does not have the same liberty interests as a free man.” Id.

at 68. Thus, a state “has more flexibility in deciding what procedures are needed in the context of

postconviction relief.” Id. at 69. In order to demonstrate constitutional infirmity, a convicted

individual must show that the postconviction procedures “are fundamentally inadequate to

vindicate the substantive rights provided” such that the procedures “offend[] some principle of

justice so rooted in the traditions and conscience of our people as to be ranked as fundamental.”


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Id. at 69–71. Osborne “left slim room for the prisoner to show that the governing state law denies

him procedural due process.” Skinner, 562 U.S. at 525.

       At best, Plaintiff “provides many arguments as to why the []CCA was incorrect in its

application of Chapter 64,” but “there is nothing in the []CCA’s opinion that ‘offends some

principle of justice so rooted in the traditions and conscience of our people as to be ranked as

fundamental.’” Pruett v. Choate, 711 F. App’x 203, 206 (5th Cir. 2017) (quoting Osborne, 557

U.S. at 69). “Instead, the []CCA carefully considered each of [Plaintiff’s] contentions as to Chapter

64; it reviewed the evidence with due diligence, then found that [Plaintiff] was not entitled

to . . . relief under Chapter 64.” Id. at 206–07. Plaintiff’s complaints about “the legislative intent

behind Chapter 64 boil down to the bare claim that the []CCA misapplied Texas law—but there is

nothing so egregious in its application that rises to the level of a due-process violation.” Id. at 207.

Nonetheless, the County Defendants address Plaintiff’s complaints individually.

               1.      Requiring an adequate chain of custody does not violate due process.

       In attacking the CCA’s chain-of-custody interpretation, Plaintiff is attempting to

constitutionalize what is truly a state law matter—a state court’s interpretation of a state statute.

But a “‘mere error of state law,’ [the Supreme Court] ha[s] noted, ‘is not a denial of due process.’”

Rivera v. Illinois, 556 U.S. 148, 158 (2009) (quoiting Engle v. Isaac, 456 U.S. 107, 121 n.21

(1982)). And that is Plaintiff’s complaint—that the CCA interpreted Chapter 64’s chain-of-custody

requirement erroneously. He has not briefed whether due process, in the form of fundamental

fairness, has anything to say about a state’s postconviction DNA testing scheme vis-à-vis chain of

custody, let alone requiring states to adopt his interpretation of that requirement lest they have a




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constitutionally infirm system. At base, he complains of the denial of DNA testing. More is needed

to show a violation of due process. 2

        Setting aside Plaintiff’s inadequately pled claim, due process permits the states to impose

restrictions on postconviction DNA testing, including a chain-of-custody requirement. The federal

scheme has one. 18 U.S.C. § 3600(a)(4). Many state schemes do too. See, e.g., Cal. Penal Code

§ 1405(g)(2); Fla. Stat. § 925.11(f)(2); 42 Pa. Cons. Stat. § 9543.1(d)(1)(ii). There is good reason

to have such requirements—it ensures “the identity and integrity of physical evidence.” 23 C.J.S.

Criminal Procedure § 1150 (2019) (emphasis added). The latter goal is clearly the purpose of

Chapter 64’s chain-of-custody requirement, permitting testing only if the evidence “has not been

substituted, tampered with, replaced, or altered in any material respect.” Tex. Code Crim. Proc.

art. 64.03(a)(1)(A)(ii). There is nothing fundamentally unfair in ensuring evidentiary integrity.

        Plaintiff nonetheless suggests that the CCA imposed a “novel” chain-of-custody

requirement on him. Compl. 17 ¶ 48. Plaintiff’s argument ignores context—he is not trying to

introduce a piece of evidence, he is trying to remove biological material from that evidence, test

it, and then have a court consider the results in determining whether it would have affected the

result of his trial. Maine’s highest court appreciates the difference—“[t]he central point of the

chain of custody requirement is to assure that the evidence is what it purports to be—that is, related

to the crime—and that it has not been contaminated or tampered with such that testing of it will

yield unreliable (and therefore irrelevant) results.” Cookson v. State, 17 A.3d 1208, 1213 (Me.

2011). The CCA understood it too, with Plaintiff’s help—“[Plaintiff’s] own witnesses conceded

that the manner of the trial exhibits’ handling contaminated or tampered with the evidence.” Reed,


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       This critique is applicable to all elements of Plaintiff’s due process claim. For brevity’s sake, the
County Defendants asks the Court to consider all of Plaintiff’s due process complaints as nothing more than
complaints of state law error and inadequately pled.



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541 S.W.3d at 770. Plaintiff’s refusal to recognize the difference does not make Chapter 64

fundamentally unfair.

       But even if the CCA should have applied the “traditional” chain-of-custody requirement,

there is no due process violation. That is because, while normally chain of custody goes to the

weight of the evidence, “affirmative evidence of tampering or commingling” goes to its

admissibility. Dossett v. State, 216 S.W.3d 7, 17 (Tex. App.—San Antonio 2006, pet ref’d)

(emphasis added); see also 23 C.J.S. Criminal Procedure § 1150 (2019) (“Whether a proper chain

of custody has been established goes to the weight of the evidence rather than its admissibility at

least where the trial court has determined that in reasonable probability, the proffered evidence has

not been changed in any important respect.”). Plaintiff’s own witnesses admitted that the storage

and handling of the trial exhibits “contaminated or tampered” with them, Reed, 541 S.W.3d at 770,

so Plaintiff would fail to meet a “traditional” chain-of-custody requirement if due process requires

context to be ignored at the expense of nuance.

       Regardless of insular matters of state law, Justice Alito predicted this very factual scenario

a decade ago, finding that the denial of DNA testing in this situation would not violate due process:

       [M]odern DNA testing is so powerful that it actually increases the risks associated
       with mishandling evidence. STR tests, for example, are so sensitive that they can
       detect DNA transferred from person X to a towel (with which he wipes his face),
       from the towel to Y (who subsequently wipes his face), and from Y’s face to a
       murder weapon later wielded by Z (who can use STR technology to blame X for
       the murder). Any test that is sensitive enough to pick up such trace amounts of DNA
       will be able to detect even the lightest, unintentional mishandling of evidence.

       ....

       Then, after conviction, with nothing to lose, the defendant could demand DNA
       testing in the hope that some happy accident—for example, degradation or
       contamination of the evidence—would provide the basis for seeking postconviction
       relief. Denying the opportunity for such an attempt to game the criminal justice
       system should not shock the conscience of the Court.




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Osborne, 557 U.S. at 82, 85 (Alito, J., concurring). As a matter of law, there is no due process

violation and Plaintiff fails to state a claim for which relief may be granted. Dismissal is in order.

               2.      The CCA’s definition of “exculpatory” does not offend fundamental
                       fairness.

       The term “exculpatory” is used in Chapter 64’s materiality requirement. That is, to obtain

testing, a movant must prove by a preponderance of the evidence that he or she “would not have

been convicted if exculpatory results had been obtained through DNA testing.” Tex. Code Crim.

Proc. art. 64.03(a)(2)(A). “A requirement of demonstrating materiality is [a] common” feature in

postconviction DNA testing schemes, Osborne, 557 U.S. at 63, and that requirement, that the

evidence “be sufficiently material,” is not inconsistent with the ‘traditions and conscience of our

people’ or with ‘any recognized principle of fundamental fairness,’ id. at 70 (quoting Medina v.

California, 505 U.S. 437, 446, 448 (1992)).

       Not satisfied, Plaintiff essentially argues that the CCA should interpret “exculpatory” as a

match to a “known offender” or “finding the same unidentified DNA profile on both properly

stored items and those which could have been contaminated.” Compl. 26, ¶ 77. If the CCA were

required to presume a known murderer’s DNA was on every piece of evidence, “it makes it hard

to imagine a case in which [it] would not grant DNA testing.” State v. Swearingen, 424 S.W.3d

32, 39 (Tex. Crim. App. 2014). This transforms Plaintiff’s claim from process to substance,

requiring DNA testing for all items in all cases, but “there is no such substantive due process right.”

Osborne, 557 U.S. at 72. And in any event, the CCA largely utilized Plaintiff’s proposed definition

of “exculpatory,” assuming a redundant profile amongst all the non-contaminated items he sought

to DNA test, yet found it was not enough to show likely acquittal. Reed, 541 S.W.3d at 773–77.

This was partly based on the evidence he presented at the Chapter 64 hearing—“[Plaintiff’s]

experts contradict his argument that touch DNA would prove the perpetrator’s identity.” Id. at 777.



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Chapter 64’s materiality requirement does not violate due process as a matter of law, so Plaintiff

fails to plead a claim upon which relief can be granted. It should be dismissed.

               3.      The error—and correction—of an inadvertent signature does not
                       violate due process.

       It is hard to understand Plaintiff’s complaint on this matter for a variety of reasons. For

one, he does not identify a Chapter 64 element dealing with such matters. Thus, he cannot be said

to be challenging Texas’s postconviction DNA testing scheme. For another, the trial court

identified its mistake and moved to correct it. It certainly cannot be said that due process requires

perfection in the postconviction process. See Green v. Thaler, 699 F.3d 404, 416 (5th Cir. 2012)

(“But despite criticizing the practice [of verbatim adoption of the proposed findings by the

prevailing party], the Court has never found it to violate due process.”). There was a scrivener’s

error, it was corrected, and due process does not require any more than that.

       It is also hard to understand this complaint because the CCA reviewed the supplemental

findings and reversed some of them—those dealing with whether Plaintiff proved there was

biological material on the items he sought to test. Reed, 541 S.W.3d at 770–73. Thus, Plaintiff’s

complaint boils down to, again, an argument he was entitled to particular result (here, a certain set

of findings). That transforms the procedural into substance, and it dooms the claim as Plaintiff has

no such right. See Osborne, 557 U.S. at 72. As a matter of law, Plaintiff’s complaint about an

errant signature fails and it should be dismissed as failing to state a claim.

               4.      Due process does not mandate a particular style of materiality review.

       In determining materiality of the evidence to be tested, the CCA “does not consider post-

trial factual developments. Instead, [it] limit[s] . . . review to whether exculpatory results ‘would

alter the landscape if added to the mix of evidence that was available at the time of trial.’” Reed,

541 S.W.3d at 774 (quoting Holberg v. State, 425 S.W.3d 282, 285 (Tex. Crim. App. 2014)).



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Plaintiff does not provide this Court with an iota of briefing that due process requires a state court

to utilize a particular practice, or a particular record, in making a materiality determination.

        Although Plaintiff does not clarify what due process requires, it would amount to an

unprecedented expansion of constitutional law to adopt any version of Plaintiff’s vague due

process requirement. By making this argument, at a minimum, Plaintiff suggests that state courts

must consider new evidence in determining whether to grant postconviction DNA testing. While

he presents his evidence as categorical, see Compl. 27 ¶ 80 (“relying on trial evidence which has

since been recanted, 3 discredited and proven false”), certainly he does not suggest that

postconviction DNA testing courts must accept a movant’s recitation of fact. Thus, instead of

making a probabilistic determination based on a judicially noticed trial record, Plaintiff’s new

evidence requirement would turn a preliminary legal question into a factual one and effectively

cause a full-blown retrial every time a convicted person requested postconviction DNA testing.

        Due process does not mandate that states provide any postconviction review. Pennsylvania

v. Finley, 481 U.S. 551, 557 (1987). When a state does, it need not provide an attorney, even in

capital cases. Murray v. Giarratano, 492 U.S. 1, 10 (1989) (plurality opinion). And due process

does not even mandate inmate competence during the postconviction process. Ryan v. Gonzales,

568 U.S. 57, 67 (2013). There is simply no precedent to suggest that states must, as a constitutional

matter, offer another open-ended factfinding venue when they enact postconviction DNA testing


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          As to the supposed recantation by the medical examiner who testified at Plaintiff’s trial, Dr. Roberto
Bayardo, this Court has rejected Plaintiff’s characterization of that declaration, Order on Report and
Recommendation 12, Reed v. Thaler, No. A-02-CV-142-LY (W.D. Tex. Sept. 26, 2012) (Yeakel, J.), ECF
No. 177 (“[Plaintiff] dramatically overstates the relevance and import of the declaration.”), as has the Fifth
Circuit, Reed v. Stephens, 739 F.3d 753, 770 (5th Cir. 2014) (“Dr. Bayardo’s purported ‘disavowal’ of his
trial testimony also does not contradict much of his original testimony.”). Moreover, this Court, Order on
Report and Recommendation 3–17, the Fifth Circuit, Reed, 739 F.3d at 766–73, and most recently the CCA,
Ex parte Reed, 2019 WL 2607452, at *2, have all rejected Plaintiff’s varying, scattershot, and inconsistent
claims of “gateway” innocence. Yet, interestingly, he would have the state courts order DNA testing on a
showing that is insufficient to lift even a procedural bar.


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schemes. Direct appeal is generally limited to the record developed at trial even if new evidence

arises during the pendency of review. See, e.g., Trevino v. Thaler, 569 U.S. 413, 422 (2013). The

same is true for federal habeas review. See, e.g., Cullen v. Pinholster, 563 U.S. 170, 181–82 (2011).

Plaintiff provides no briefing why a state cannot do what the federal courts or government do. Due

process does not so mandate. See Smith v. Phillips, 455 U.S. 209, 218 (1982) (“It seems to us to

follow ‘as the night the day’ that if in the federal system a post-trial hearing such as that conducted

here is sufficient to decide allegations of juror partiality, the Due Process Clause of the Fourteenth

Amendment cannot possible require more of a state court system.”). This is especially true as

Texas provides a venue for Plaintiff to air his “new” evidence via its habeas corpus process—and

has done so nine times. It does not have to disrupt its entire postconviction DNA testing scheme

to give him one more.

        Texas is not alone in limiting the evidence to be considered when performing a materiality

review. See, e.g., Meinhard v. State, 371 P.3d 37, 44 (Utah 2016) (“And other provisions of the

code make clear that only DNA test results can establish factual innocence under Part 3 of the

PCRA.”); Anderson v. State, 831 A.2d 858, 867 (Del. 2003) (“When deciding whether evidence

is materially relevant, the trial court must consider not only the exculpatory potential of a favorable

DNA test result, but also the other evidence presented at trial.”). Of note, Osborne overturned a

Ninth Circuit critique of the Alaska Supreme Court’s materiality review that “focus[ed] only on

the state of the evidence as it existed at trial and whether that trial record would lead one to question

the integrity of that evidence.” Dist. Attorney’s Office for the Third Judicial Dist. v. Osborne, 521

F.3d 1118, 1135 (9th Cir. 2008). And focusing on the effect of trial is a well-worn rule in other

constitutional materiality contexts. See, e.g., United States v. Bagley, 473 U.S. 667, 681–82 (1985);

Strickland v. Washington, 466 U.S. 668, 695–96 (1984). Use of such a materiality review standard




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in a postconviction DNA testing scheme is not fundamentally unfair. See Osborne, 557 U.S. at 70.

Relief cannot be had as a matter of law and the claim should be dismissed.

               5.     Plaintiff cannot show a due process violation based upon requests he
                      has not made under Chapter 64.

       Plaintiff sets out the evidence he wants subjected to DNA testing. Compl. Ex. A. Relevant

here, he requests testing of “[s]trands of hair taken from Stites’s body” and “extracted DNA from

hair #20.” Id. But Plaintiff cannot show fundamental unfairness for these items because he did not

request that they be tested under Chapter 64. As to these items, they were part of a DNA testing

agreement entered into by Plaintiff and the State. See Reed, 541 S.W.3d at 765. As such, Plaintiff

cannot demonstrate he was denied due process of law for items he has never attempted to test via

Chapter 64. See Osborne, 557 U.S. at 71 (“These procedures are adequate on their face, and

without trying them, [Plaintiff] can hardly complain they do not work in practice.”).

               6.     An adequate and independent ruling by the state court supports the
                      denial of DNA testing—he was untimely in seeking testing.

       Although Plaintiff complains, in his factual background section, of an “arbitrary finding of

unreasonable delay” in state court, Compl. 18–19 ¶ 52, he does not actually claim that such

violated due process, compare id., with id. at 24–27 ¶¶ 70–81. Thus, an adequate and independent

and unchallenged state court finding justifies the denial of postconviction DNA testing.

       If Plaintiff does challenge the finding of unreasonable delay, it undoubtedly passes

constitutional muster. Chapter 64 requires that a movant prove that the request for DNA testing

“is not made to unreasonably delay the execution of sentence or administration of justice.” Tex.

Code Crim. Proc. art. 64.03(a)(2)(B). The requirement that DNA testing “must have been

diligently pursued” is similar to requirements imposed “by federal law and the law of other States,

and they are not inconsistent with the ‘traditions and conscience of our people’ or with ‘any

recognized principle of fundamental fairness.’” Osborne, 557 U.S. at 70 (quoting Medina, 505


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U.S. at 446, 448). Indeed, the federal counterpart, the “model for how States ought to handle”

enactment of postconviction DNA testing schemes, id. at 63, presumes untimeliness if the request

is made five years after its enactment or three years after conviction, § 3600(a)(10)(B). Here,

Plaintiff waited thirteen years after the enactment of Chapter 64 “and there does not appear to be

any factual or legal impediments that prevented [Plaintiff] from availing himself of post-conviction

DNA testing earlier.” Reed, 541 S.W.3d at 779. Plaintiff’s dilatoriness independently supports the

denial of DNA testing, it is not a fundamentally unfair requirement or ruling, and it requires

dismissal of Plaintiff’s due process claim.

       D.      Relief cannot be granted because Plaintiff’s access-to-the-courts claim fails as
               a matter of law, so it must be dismissed (Claim Two).

       While a state inmate has a “right of access to the courts,” that right does not encompass the

ability “to discover grievances, and to litigate effectively once in court.” Lewis v. Casey, 518 U.S.

343, 350, 354 (1996) (emphasis removed from initial quotation). “One is not entitled to access to

the courts merely to argue that there might be some remote possibility of some constitutional

violation.” Whitaker v. Collier, 862 F.3d 490, 501 (5th Cir. 2017) (quoting Whitaker v. Livingston,

732 F.3d 465, 467 (5th Cir. 2013)). If a litigant has “not met the pleadings standards for . . . their

claims, their access-to-the-courts theory necessarily fails as well.” Id. Because Plaintiff’s due

process claim fails, his access-to-the-courts claims does too. See id; Alvarez, 679 F.3d at 1265–66

(same as applied to a postconviction DNA testing challenge). It must therefore be dismissed.

       E.      As a matter of law, Plaintiff has suffered no Eighth Amendment deprivation,
               so this claim must be dismissed (Claim Three).

       The Eighth Amendment applies primarily to “the trial stage of capital offense adjudication,

where the court and jury hear testimony, receive evidence, and decide the questions of guilt and

punishment.” Giarratano, 492 U.S. at 9 (plurality opinion). It does not apply to postconviction




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procedures. See id. at 9–10. 4 And it does not create a claim upon which relief can be granted as

applied to postconviction DNA testing schemes. See Alvarez, 679 F.3d at 1265 (“We can discern

no conceivable basis in this case, nor has Alvarez provided us with one, for attempting an end-run

around the Osborne holding under the cloak of the Sixth or Eighth Amendments.”). And because

Plaintiff argues that the Eighth Amendment prohibits his execution, it is a challenge to his sentence

and is barred from a § 1983 suit under Heck v. Humphrey, 512 U.S. 477 (1994). See In re Pruett,

784 F.3d 287, 290–91 (5th Cir. 2015). The claim fails as a matter of law and it must be dismissed.

       F.      Plaintiff’s actual-innocence claim must be dismissed because it fails as a
               matter of law (Claim Four).

       To the extent that this is a substantive due process claim, Osborne forecloses relief. See

Skinner, 562 U.S. at 525 (“Osborne rejected the extension of substantive due process to this

area.”); Alvarez, 679 F.3d at 1264. If this is an actual innocence “claim,” that “would be brought

in habeas.” Osborne, 557 U.S. at 72. And thus it is “not cognizable under § 1983” and therefore

Heck barred. Emerson v. Thaler, 544 F. App’x 325, 327 n.1 (5th Cir. 2013). Regardless, “Osborne

foreclosed Herrera-based actual innocence claims of the sort made here.” Alvarez, 679 F.3d at

1265. Relief must be denied as a matter of law, so the claim must be dismissed.

                                          CONCLUSION

       For the foregoing reasons, the Court either does not possess jurisdiction or it must dismiss

Plaintiff’s claims as ones upon which relief may not be granted.

                                               Respectfully submitted,

                                               KEN PAXTON
                                               Attorney General of Texas



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         Although the Eighth Amendment prevents the execution of an incompetent individual, it does not
“impose[] heightened procedural requirements” to determine competence. Giarratano, 492 U.S. at 10
(plurality opinion) (quoting Ford v. Wainwright, 477 U.S. 399, 425 (1986) (Powell, J., concurring)).


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                            CERTIFICATE OF COMPLIANCE

        I do herby certify that this document complies with Local Court Rule CV-10 and In re:
Filing of Documents in the Austin Division in that the document utilizes 12-point font, is double
spaced, has one-inch margins, and contains all required attorney information.

                                            /s/ Matthew Ottoway
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                                CERTIFICATE OF SERVICE

        I do herby certify that on September 17, 2019, I electronically filed the foregoing document
with the Clerk of the Court for the U.S. District Court, Western District of Texas, using the
electronic case-filing system of the Court. The electronic case-filing system sent a “Notice of
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